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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

       APPALACHIAN VOICES, et al.,)
                                  )
                      Plaintiffs, )
                                  )
                                                             Civil Action No. 1:25-cv-01982-PLF
           v.                     )
                                  )
      UNITED STATES               )
      ENVIRONMENTAL PROTECTION )
      AGENCY, et al.,             )
                                  )
                      Defendants. )

                       PLAINTIFFS’ MEMORANDUM IN SUPPORT
                       OF MOTION FOR CLASS CERTIFICATION

       Pursuant to Federal Rule of Civil Procedure 23(a) and 23(b)(2), and Local Civil Rule

23.1(b), Plaintiffs, on behalf of themselves and all others similarly situated, respectfully move

this Court for an order certifying the following class:

              All entities that received awards from the EPA authorized in whole or in part by 42
       U.S.C. § 7438 which EPA then terminated after January 20, 2025 (including statutory
       partners). The covered awards are Environmental Justice Collaborative Problem Solving
       Cooperative Agreements (CFDA 66.306); Environmental and Climate Justice Community
       Change Grants (CFDA 66.616); Thriving Communities Grantmaking Grants (CFDA
       66.615); Environmental Justice Government-to-Government Program awards awarded to
       non-State entities (CFDA 66.312), as well as awards to Thriving Communities Technical
       Assistance Centers (CFDA 66.309).

               This class excludes the plaintiffs in Sustainability Institute v. Trump, No. 25-cv-
       2152-RMG (D.S.C.) or Green & Healthy Homes Initiative, Inc. v. EPA, No. 25-cv-01096
       (D. Md.) and excludes entities whose awards were expressly terminated for identified
       financial or performance failures.

Plaintiffs further request that the Court appoint all named Plaintiffs as class representatives and

Southern Environmental Law Center, Earthjustice, and Public Rights Project as class counsel.
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                                        INTRODUCTION

       This case presents a textbook example of when class treatment is both appropriate and

necessary. As set out in Plaintiffs’ Complaint (Dkt. 1), beginning in January 2025, EPA abruptly

froze, and then unlawfully terminated, the entire Environmental and Climate Justice Block Grant

program that Congress established under Section 138 of the Clean Air Act, as amended by the

Inflation Reduction Act (“IRA”). 42 U.S.C. § 7438. Invoking Executive Orders focused on

dismantling climate and environmental justice and equity initiatives, EPA shuttered the entire

grant program and terminated all grants issued under it for what it termed “policy reasons.” Ex.

1-A ¶ 3 (T. Voyles Decl.).

       The consequences fell on the more than 350 community organizations, Tribes, local

governments, higher education institutions, and their partners across the country who make up

the proposed class. Each received grants authorized in whole or in part by 42 U.S.C. § 7438. And

each lost their grant when EPA dismantled the program from which it came.

       EPA’s actions halted hundreds of shovel-ready, community-led environmental

initiatives—threatening critical local progress, lost jobs and services, and deeper harm to

communities already disproportionately burdened by environmental and health risks. With the

program shuttered, and their grants now terminated, Plaintiffs and proposed class members have

each been forced to take disruptive actions: halting programmatic work, see, e.g., Ex. 2 ¶¶ 17–19

(Appalachian Voices Decl.), Ex. 3 ¶¶ 18, 20 (PUSH Buffalo Decl.); implementing hiring freezes,

see, e.g., Ex. 4 ¶ 26 (Landforce Decl.); reducing pay and staff hours, see, e.g., Ex. 5 ¶¶ 31–32,

(2CM Decl.); laying off essential staff hired to carry out the grant-funded work, see, e.g., Ex. 6

¶ 17 (Parks Alliance Decl.), Ex. 7 ¶ 14 (Deep South Center for Environmental Justice Decl.); and

continuing to work without pay, see, e.g., Ex. 8 ¶ 17 (Lowcountry Alliance for Model



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Communities Decl.).

       To halt this systemic harm, Plaintiffs seek declaratory and injunctive relief—

reinstatement of the congressionally-authorized Environmental and Climate Justice Block Grant

program and their individual grants—on behalf of themselves and the proposed class. This is

precisely the type of indivisible remedy that Rule 23(b)(2) is designed to address. The proposed

class meets all of Rule 23(a)’s requirements of numerosity, commonality, typicality and adequacy

and is a proper Rule 23(b)(2) class because EPA’s unlawful conduct applies uniformly to all class

members, and the relief sought would benefit them all equally.

       Numerosity. The proposed class includes over 350 recipients of grants authorized under

Section 138 of the Clean Air Act, spread across the country, easily satisfying Rule 23(a)(1)’s

requirement.

       Commonality. The claims of Plaintiffs and the proposed class raise numerous common

questions of fact and law. Plaintiffs and proposed class members received grants authorized by

Section 138 of the Clean Air Act. 42 U.S.C. § 7438. All had their grants terminated by EPA “for

policy reasons,” using near-identical termination notice letters drawn from boilerplate templates.

Ex. 1-A ¶ 3 (T. Voyles Decl.), see Ex. 1-B (M. Wise Email re Termination Procedure); Ex. 1-C,

(Boilerplate Termination Letter). The key question of law—whether EPA’s blanket termination of

the Environmental and Climate Justice Block Grant program violated the U.S. Constitution and

the Administrative Procedure Act (“APA”)—is common to the entire class and will drive

resolution of its claims.

       Typicality. Plaintiffs’ claims are typical of the claims of the proposed class. Plaintiffs

raise on their own behalf the same claims they seek to litigate for the class, and those claims

arise from the same course of events and implicate the same legal theories. Plaintiffs are thus



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well-positioned to act on behalf of and safeguard the interests of the class.

          Adequacy. The proposed class representatives satisfy the adequacy requirement because

they assert the same claims and seek the same relief—reinstatement of the Environmental and

Climate Justice Block Grant program and their individual grants—and they will defend the rights

of all the proposed class members fairly and adequately, with the assistance of able class counsel.

Proposed class counsel is a team of highly experienced attorneys with backgrounds litigating

class actions and other complex cases in federal court, including similar cases challenging

federal grant freezes.

          This case is likewise appropriate for class certification under Rule 23(b)(2). As in Healthy

Futures of Texas v. Department of Health and Human Services, 326 F.R.D. 1, 8 (D.D.C. 2018),

where a court in this District certified a Rule 23(b)(2) class challenging a program-wide decision

that affected all grantees, the relief sought here—a declaration that the termination was unlawful

and an order reinstating the program and grants awarded under it—would provide the same

remedy to each class member. The Court thus should permit this case to proceed as a class

action.

                                          BACKGROUND

  I.      Congress established and EPA implemented the Environmental and Climate Justice
          Block Grant Program.

          In 2022, when Congress enacted the IRA, it aimed to make substantial federal

investments in cutting-edge clean energy technology, reduced energy costs, and mitigation of the

impacts of greenhouse gas emissions and toxic air pollution. As part of this effort, Congress

amended the Clean Air Act to create a new program for “Environmental and Climate Justice

Block Grants” and appropriated $2.8 billion to EPA for projects within impacted communities

across the country. Pub. L. No. 117-169 § 60201, 136 Stat. 1818, 2078 (codified at 42 U.S.C.

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§ 7438). It likewise appropriated $200 million for technical assistance to support grant recipients

in designing projects, preparing applications, and performing on their grants. Id.

           EPA followed the congressional mandate established in 42 U.S.C. § 7438 by creating four

grant programs and a technical assistance program (Thriving Communities Technical Assistance

Centers (“TCTACs”)).1 Those four grant programs are the Thriving Communities Grantmaking

Program, Community Change Grants, Environmental Justice Collaborative Problem-Solving

Cooperative Agreements, and the Government-to-Government Program. The proposed class

members are recipients of grants under one or more of these programs.

    II.    EPA unlawfully terminated the Environmental and Climate Justice Block Grant
           Program.

           On January 20, 2025, President Trump took office and issued a series of Executive

Orders, two of which directed the broad termination of grant programs: the “Unleashing

American Energy” and the “Ending Radical and Wasteful Government DEI Programs and

Preferencing” Executive Orders (“EOs”). Both EOs directed the mass termination of EPA grants.

Unleashing American Energy, Exec. Order No. 14154 (Jan. 20, 2025), 90 Fed. Reg. 8353, 8357,

§ 7 (Jan. 29, 2025); Ending Radical and Wasteful Government DEI Programs and Preferencing,

Exec. Order No. 14151 (Jan. 20, 2025), 90 Fed. Reg. 8339, 8339, § 2(b)(i) (Jan. 29, 2025). The

EOs did not contemplate the specific terms and conditions of individual grants but rather directed

that entire programs—including programs that had been specifically mandated by Congress—be

cancelled because they were contrary to the President’s policy objectives.




1
  Inflation Reduction Act Environmental and Climate Justice Program, EPA (last updated Mar.
27, 2025), https://perma.cc/3BKM-DR5D. Although EPA also created the UPLIFT Climate and
Environmental Community Action Grant program, no grants were awarded under that program.
Id.
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        In implementing these EOs, federal officials froze and then terminated entire programs—

including the Environmental and Climate Justice Block Grant program. On February 25, 2025,

Deputy Administrator Voyles unilaterally decided—in a single day—to terminate the

Environmental and Climate Justice Block Grant program “for policy reasons.” Ex. 1-A ¶ 3 (T.

Voyles Decl.); see Ex. 1-D, (D. Coogan Email to T. Voyles). EPA proceeded to do just that. It

instructed staff to carry out terminations using boilerplate templates, without individualized

review and providing no meaningful process. Ex. 1-B (M. Wise Email re Termination

Procedure); Ex. 1-E (EPA Grant Termination Standard Operating Procedure); Ex. 1-C

(Boilerplate Termination Letter). Instead, EPA stated its intent to terminate all grants authorized

under 42 U.S.C. § 7438 for the same generic “policy reasons” with no specific or individualized

rationale. Ex. 1-A ¶ 3 (T. Voyles Decl.); see Ex. 1-F (D. Coogan Decl.). EPA’s unlawful, mass

termination of the Environmental and Climate Justice Block Grant program has harmed and will

continue to harm Plaintiffs and proposed class members. See Compl. (Dkt. 1); Mot. for Prelim.

Inj. (Dkt. 29).

                                           ARGUMENT

        Under Federal Rule of Civil Procedure 23, a lawsuit may proceed as a class action if two

conditions are met. The party seeking class certification must satisfy Rule 23(a)’s four

requirements, showing that “(1) the class is so numerous that joinder of all members is

impracticable; (2) there are questions of law or fact common to the class; (3) the claims or

defenses of the representative parties are typical of the claims or defenses of the class; and

(4) the representative parties will fairly and adequately protect the interests of the class.” Fed. R.

Civ. P. 23(a); see J. D. v. Azar, 925 F.3d 1291, 1312 (D.C. Cir. 2019). And it must satisfy one of

the requirements of Rule 23(b)—here, by showing that a “single injunction or declaratory



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judgment would provide relief to each member of the class.” Wal-Mart Stores, Inc. v. Dukes, 564

U.S. 338, 360 (2011) (citing Fed. R. Civ. P. 23(b)(2)). Plaintiffs who satisfy these prerequisites

have a “categorical” right to “pursue [their] claim as a class action.” Shady Grove Orthopedic

Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 398 (2010). At the class-certification stage, they

need not prove their claims. Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466

(2013). Plaintiffs need only show that the Rule 23 requirements are satisfied.

       The proposed class easily meets these standards. Indeed, this case is on all fours with

many cases in which courts have granted certification under Rule 23(b)(2) for challenges to the

federal government’s abdication of its duties under the Constitution or APA. See, e.g., DL v.

District of Columbia, 860 F.3d 713, 724–26 (D.C. Cir. 2017); see also Huashan Zhang v. U. S.

Citizenship & Immigr. Servs., 344 F. Supp. 3d 32, 61–65 (D.D.C. 2018), aff ’d, 978 F.3d 1314

(D.C. Cir. 2020); Afghan & Iraqi Allies Under Serious Threat Because of Their Faithful Serv. to

the United States v. Pompeo, 334 F.R.D. 449, 458–64 (D.D.C. 2020): Ramirez v. U.S. Immigr. &

Customs Enf’t, 338 F. Supp. 3d 1, 43–50 (D.D.C. 2018); Nio v. U. S. Dep’t of Homeland Sec.,

323 F.R.D. 28, 32–35 (D.D.C. 2017); Steele v. United States, 159 F. Supp. 3d 73, 79–85 (D.D.C.

2016), on reconsideration in unrelated part, 200 F. Supp. 3d 217 (D.D.C. 2016). As in these

cases, Plaintiffs here challenge a single agency action—EPA’s unlawful termination of a program

on which all class members depend. Plaintiffs and proposed class members suffered the same

injury as a result—the termination of their grants. And Plaintiffs seek the same, indivisible

injunctive and declaratory relief on behalf of themselves and the class as a whole. Class-wide

resolution of their claims is not only appropriate, but necessary.




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  I.    The proposed class satisfies Rule 23(a).

        A. The proposed class satisfies the numerosity requirement.

        As an initial matter, a class action is appropriate here because “the class is so numerous”

that “joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). Demonstrating

impracticability “does not mandate that joinder of all parties be impossible—only that the

difficulty or inconvenience of joining all members of the class make use of the class action

appropriate.” DL v. District of Columbia, 302 F.R.D. 1, 11 (D.D.C. 2013), aff’d, 860 F.3d 713

(D.C. Cir. 2017) (citation omitted). The numerosity requirement “‘imposes no absolute

limitations,’ but rather ‘requires examination of the specific facts of each case.’” Lightfoot v.

District of Columbia, 246 F.R.D. 326, 335 (D.D.C. 2007) (quoting Gen. Tele. Co. of the NW v.

EEOC, 446 U.S. 318, 330 (1980)). However, a class containing a minimum of forty “creates a

presumption of the impracticability of joinder.” Borum v. Brentwood Vill., LLC, 324 F.R.D. 1,

14–15 (D.D.C. 2018); Taylor v. D.C. Water & Sewer Auth., 241 F.R.D. 33, 37 (D.D.C. 2017); see

also Lightfoot, 246 F.R.D. at 335.

        Here, the numerosity requirement is met. The proposed class’s more than 350 members

far exceed the forty-member presumption. And the specific facts of this case only reinforce that

conclusion. Joinder of hundreds of plaintiffs spread all over the country is textbook

impracticability. The quantity of class members is thus more than sufficient for certification.

        Furthermore, while the D.C. Circuit has not addressed whether Rule 23 contains an

implied ascertainability requirement, see J.D. 925 F.3d at 1319-20, any concerns about

ascertainability are not present here. The proposed class is ascertainable because it is defined by

objective criteria and limited to specific entities: (1) that received one or more grants that were

authorized in whole or in part by 42 U.S.C. § 7438 and (2) whose grants terminated by EPA after



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January 20, 2025, as part of its shutdown of the Environmental and Climate Justice Block Grant

program. The proposed class is ascertainable using Defendants’ records of grant awards and

termination notices.

       B. The proposed class presents common questions of law or fact.

       To satisfy commonality, Plaintiffs must show that “there are questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). That means that the class’s claims must depend

on a “common contention” that is “capable of classwide resolution”—in other words, that it is

possible to resolve “an issue that is central” to the claims’ validity “in one stroke.” Wal-Mart, 564

U.S. at 350. That inquiry is “simplified” in cases like this one, “because, as the D.C. Circuit has

explained, a challenge to ‘a uniform policy or practice that affects all class members’ in the same

way clearly gives rise to common questions of law and fact.” Healthy Futures of Texas, 326

F.R.D. at 7 (quoting DL, 713 F.3d at 128).

       Just so here. Each proposed class member was subjected to the same EPA policy or

practice and was affected in the same way. Each proposed class member received at least one

grant authorized and funded through the Environmental and Climate Justice Block Grant

program. See Compl., Dkt.1, ¶¶ 21, 66, 71, 80, 86, 91. EPA then eliminated the program in full,

for blanket, self-described “policy reasons.” Ex. 1-A (T. Voyles Decl.); Ex. 1-D (D. Coogan

Email to T. Voyles – Feb. 25, 2025). EPA subjected each proposed class member to substantively

the same process, up to and including sending each one a substantively identical, boilerplate

termination notice. Compl., Dkt.1, ¶114. And Plaintiffs seek the same uniform relief: a

declaration that EPA’s termination of the program was unlawful, and an injunction restoring the

program and reinstating its grants.




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       This case thus hinges on common contentions of law or fact, the answers to which will

resolve the claims of all the class members. Those contentions include:

           a) Whether EPA engaged in a course of conduct that unlawfully terminated the
              Environment and Climate Justice Block Grant programs under which class
              members received their grants;

           b) Whether EPA’s actions to terminate the Grant programs violated the APA;

           c) Whether EPA’s actions to terminate the Grant programs violated the
              Constitution’s Separation of Powers and Presentment Clauses;

           d) Whether Plaintiffs and the other class members are entitled to injunctive and/or
              declaratory relief.
       The possibility that the class members might differ in other respects makes no difference.

So long as “a single aspect or feature of the claim is common to all proposed class members,”

commonality is met. Attias v. CareFirst, Inc., 344 F.R.D 38, 49 (D.D.C. 2023) (internal quotation

marks and citation omitted). And here, there are several—any one of which is enough not just to

satisfy Rule 23(a)(2)’s permissive standard, but to make it “productive and economical” to

certify this class. J.D., 925 F.3d at 1321 (internal quotations and citation omitted).

       Indeed, the D.C. Circuit has repeatedly upheld commonality where, as here, all proposed

class members are subject to the same harm and seek the same remedy, even if they differ in

other ways. See id. (commonality met where proposed class members were subject to a common

policy); Brown v. District of Columbia, 928 F.3d 1070, 1082 (D.C. Cir. 2019) (commonality

found where “common proof will lead to common answers” on key questions); see also Afghani

and Iraqi Allies, 334 F.R.D. at 459–61 (commonality met where all proposed class members

sought and would benefit from the same remedy). Here, all proposed class members are harmed

by the same EPA-wide termination of the Grant program and seek the same injunctive and

declaratory relief. That shared harm and remedy readily satisfy the commonality requirement.



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       C. Plaintiffs’ claims are typical of proposed class members’ claims.

       The proposed class’s claims satisfy Rule 23(a)(3)’s typicality requirement for many of the

same reasons. Typicality is construed liberally and is met when the class claims “stem from a

single event or a unitary course of conduct” or share “the same legal or remedial theory.” In re

McCormick & Co., Pepper Prods. Mktg. & Sales Pracs. Litig., 422 F. Supp. 3d 194, 237 (D.D.C.

2019). Rule 23(a)’s typicality inquiry “tend[s] to merge” with both commonality and adequacy.

Amchem, 521 U.S. at 626 n.20 (citation omitted). And it does so here. Plaintiffs’ claims are

typical of the claims of the proposed class, for largely the same reasons that the proposed class

presents common questions of law and fact: Plaintiffs challenge EPA’s across-the-board

termination of the Grant program on the same constitutional and APA grounds for themselves as

for the proposed class, and seek the same declaratory and injunctive relief. If Plaintiffs prevail on

their claims that EPA’s conduct violated the Constitution or the APA, that ruling would benefit all

members of the proposed class in the same way.

       D. Plaintiffs will adequately protect the interests of the proposed class.

       Rule 23(a)(4) requires that “[t]he representative parties will fairly and adequately protect

the interests of the class.” Fed. R. Civ. P. 23(a)(4). Courts apply a two-pronged test for adequacy:

(1) the named plaintiffs must not have conflicting interests with unnamed class members, and

(2) the named plaintiffs “must appear able to vigorously prosecute the interests of the class

through qualified counsel.” Thorpe, 303 F.R.D. at 150. Plaintiffs satisfy both prongs.

       Here, Plaintiffs’ interests are aligned with those of the proposed class. The injuries and

claims of all proposed class members arise from the same EPA conduct. There are no known

conflicts of interest among Plaintiffs or members of the proposed class, all of whom share a

common interest in challenging EPA’s unlawful conduct and obtaining relief from the same.



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        Further, Plaintiffs will fairly and adequately protect the interests of the proposed class.

Plaintiffs have remained engaged throughout the development of this lawsuit, have remained in

regular contact with Plaintiffs’ counsel, and have otherwise acted in a manner consistent with the

interests of the proposed class. They seek no relief beyond what all class members would obtain.

Each proposed class representative is willing and able to “take an active role in this litigation and

to protect the interests of absent plaintiffs.” Ramirez, 338 F. Supp. 3d at 47.

 II.    The proposed class satisfies Rule 23(b)(2).

        In addition to satisfying each of the requirements of Rule 23(a), Plaintiffs meet the

requirements of Rule 23(b)(2). That rule requires that “the party opposing the class has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

23(b)(2). It “exists so that parties and courts . . . can avoid piecemeal litigation when common

claims arise from systemic harms that demand injunctive relief.” D.L., 860 F.3d at 726. To that

end, certification under Rule 23(b)(2) is appropriate “when a single injunction or declaratory

judgment would provide relief to each member of the class.” Wal-Mart, 564 U.S. at 360–61.

        Rule 23(b)(2)’s requirements are met here. This case challenges a uniform practice that

affects all class members: the termination of the Grant program, and with it, all grants awarded

under that program to proposed class members. Defendants’ actions thus are “generally

applicable to the class.” Steele, 159 F. Supp. 3d at 81. And Plaintiffs seek “final injunctive relief

or corresponding declaratory relief on behalf of the class.” Id. Specifically, they request: (1) a

declaratory judgment that the Grant program termination violated the U.S. Constitution and the

Administrative Procedure Act; and (2) injunctive relief applicable to all proposed class members,

including setting aside EPA’s unlawful decision to terminate the Grant program and requiring



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EPA to reinstate it and their individual grants. A “single program-wide injunction on behalf of the

class” thus would benefit Plaintiffs and proposed class members in the same way. Healthy

Futures of Texas, 326 F.R.D. at 8–9. And no individual class member seeks or would receive

different declaratory or injunctive relief. See id. This is thus “exactly” the “sort of suit” for which

“[t]he Rule 23(b)(2) class action was designed.” D.L., 860 F.3d at 726.

        Courts routinely certify classes challenging agency actions under Rule 23(b)(2). See, e.g.,

Afghan & Iraqi Allies, 334 F.R.D. at 464 (certifying 23(b)(2) class challenging unreasonable

delay of visa applications under the APA); Thorpe, 303 F.R.D. at 151–52 (certifying 23(b)(2)

class bringing a challenge under the Americans with Disabilities Act). Indeed, a court in this

District has certified a class under 23(b)(2) in nearly identical circumstances—where, like here,

its proposed members sought declaratory and injunctive relief from a federal agency’s

programmatic decision to prematurely end grant funding awarded to individual recipient

organizations. See Healthy Futures of Texas, 326 F.R.D. at 8–9. There, as here, “a single

program-wide injunction” would resolve the claims of the entire class. Id. at 9. That is “precisely

the situation that Rule 23(b)(2) envisions.” Id.

        Because Rule 23(b)(2) applies equally here, this Court should certify the class.

III.    The Court should appoint Southern Environmental Law Center, Public Rights
        Project, and Earthjustice as class counsel under Rule 23(g).

        In certifying this class, the Court should appoint proposed class counsel as class counsel.

Proposed class counsel have demonstrated the requisite efforts for investigation into the claims,

have the necessary experience to litigate such claims, and have dedicated significant resources to

this action. In determining adequacy of class counsel, a court considers four factors: (1) the work

counsel has done in identifying or investigating potential claims in the action; (2) counsel’s

experience in handling class actions, other complex litigation, and the types of claims asserted in

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the action; (3) counsel’s knowledge of the applicable law; and (4) the resources that counsel will

commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A). Evaluation of these factors often

overlaps or even merges with factors considered under Rule 23(a)(4), but specific to proposed

appointed counsel. See 1 William Rubenstein, Newberg and Rubenstein on Class Actions, § 3:80

(6th ed. 2025). Counsel meet each one.

       First, counsel have expended a great deal of resources investigating potential claims in

this action. All three firms have devoted extensive time interviewing potential plaintiffs,

gathering facts, and researching in preparation for this action. Moreover, Southern

Environmental Law Center and Public Rights Project have litigated several similar claims with

overlapping facts in their pending action, Sustainability Institute v. Trump, No. 25-cv-2152-

RMG, --- F. Supp. 3d ---, 2025 WL 1486979 (D.S.C. May 20, 2025).

       Second, counsel hold no conflicts of interest with proposed class members. The absence

of such conflicts means that counsel are well-positioned to ensure fairness to the class. Cf.

Bachman v. Pertschuk, 437 F. Supp. 973, 975 (D.D.C. 1977) (modifying class certification to

exclude attorney from serving as class counsel where he was a class member and an employee of

the defendant).

       Third, proposed class counsel work for legal organizations with extensive experience

litigating complex administrative and constitutional matters in federal court, and they themselves

bring substantial experience in these areas. See Ex. 9 ¶¶ 3, 7, 9, 10, 12, 14 (Como Decl.); Ex. 10

¶¶ 6, 7, 9, 10, 11, 12 (Vizcarra Decl.); Ex. 11 ¶¶ 3,4, 6, 7 (Merrill Decl.) Counsel thus are more

than competent “to manage a class action and the underlying legal claims the lawsuit seeks to

advance.” Healthy Futures of Texas, 326 F.R.D. at 8. And, although not required, multiple

counsel have experience litigating class action lawsuits. Ex. 9 ¶¶ 7, 12 (Como Decl); Ex. 10 ¶ 10



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(Vizcarra Decl.); Ex. 11 ¶¶ 3, 6 (Merrill Decl.); see also Vargas v. Meese, 119 F.R.D. 291, 296

(D.D.C. 1987) (nonprofit counsel adequate because “experienced in federal court practice” and

in the substantive areas at issue in the case).

        Finally, counsel possess the resources and expertise to vigorously represent the proposed

class. In this inquiry, courts look to “the resources that counsel will commit to representing the

class.” Fed. R. Civ. P. 23(g)(1)(A)(iv). Proposed class counsel work for well-resourced legal

nonprofit organizations with complementary skills and staff to efficiently advance this case.

Each firm has committed multiple attorneys to the case to handle various aspects of the litigation.

Southern Environmental Law Center has over 120 attorneys and has decades of experience in

litigation, including numerous complex cases in federal courts involving issues of environmental,

constitutional, and administrative law. Ex. 9 ¶ 3 (Como Decl.). Southern Environmental Law

Center has staffed four qualified attorneys to work on this case. Ex. 9 ¶ 5 (Como Decl.).

Earthjustice has over 200 attorneys and frequently brings complex litigation in federal courts,

including against federal agencies. Ex. 10 ¶ 6 (Vizcarra Decl.). Earthjustice has staffed five

qualified attorneys to work on this case. Ex. 10 ¶ 8 (Vizcarra Decl.). Public Rights Project has

extensive experience bringing complex litigation in federal courts, including on behalf of large

groups of local governments. Ex. 11 ¶ 4 (Merrill Decl.). Public Rights Project has staffed three

qualified attorneys to work on this case. Ex. 11 ¶ 5 (Merill Decl.).




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                                        CONCLUSION

       Plaintiffs respectfully request that the Court grant this Motion and enter an order

certifying the proposed class under Rule 23(b)(2); appoint Plaintiffs as class representatives; and

appoint Plaintiffs’ counsel from Southern Environmental Law Center, Earthjustice, and Public

Rights Project as class counsel.

       Respectfully submitted this 27th day of June 2025,



                                              /s/ Ben Grillot
                                              Ben Grillot (D.C. Bar No. 982114)
                                              Kimberley Hunter (N.C. Bar No. 41333)
                                              (Pro Hac Vice forthcoming)
                                              Irena Como (N.C. Bar No. 51812)
                                              (Pro Hac Vice forthcoming)
                                              James Whitlock (N.C. Bar No. 34304)
                                              (Pro Hac Vice forthcoming)
                                              SOUTHERN ENVIRONMENTAL LAW CENTER
                                              122 C St NW, Suite 325
                                              Washington, DC 20001
                                              Telephone: (202) 828-8382
                                              Facsimile: (202) 347-6041
                                              bgrillot@selc.org
                                              kmeyer@selc.org
                                              icomo@selc.org
                                              jwhitlock@selc.org

                                              Counsel for Appalachian Voices, 2°C Mississippi,
                                              Lowcountry Alliance for Model Communities, Parks
                                              Alliance of Louisville, Pittsburgh Conservation
                                              Corps (Landforce) and Southwest Renewal
                                              Foundation and Proposed Class Counsel

                                              /s/ Hana V. Vizcarra
                                              Hana V. Vizcarra (D.C. Bar No. 1011750)
                                              Deena Tumeh (D.C. Bar No. 1741543)
                                              Linnet Davis-Stermitz (WA Bar No. 63190)
                                              (Pro Hac Vice)
                                              Molly Prothero (D.C. Bar No. 1779237)
                                              Andrew Saavedra (N.Y. Bar No. 6062814)
                                              (Pro Hac Vice)

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                               EARTHJUSTICE
                               1001 G Street NW, Suite 1000
                               Washington, D.C. 20001
                               Telephone: (202) 667-4500
                               hvizcarra@earthjustice.org
                               dtumeh@earthjustice.org
                               ldavisstermitz@earthjustice.org
                               mprothero@earthjustice.org
                               asaavedra@earthjustice.org

                               Counsel for Air Alliance Houston, Bessemer
                               Historical Society (d/b/a Steelworks Center of the
                               West), Deep South Center for Environmental
                               Justice, Downwinders at Risk, Health Resources in
                               Action, Institute for Sustainable Communities,
                               Inter-Tribal Council of Michigan, PUSH Buffalo,
                               and WE ACT for Environmental Justice and
                               Proposed Class Counsel

                               /s/ Toby Merrill
                               Toby Merrill (D.D.C. Bar ID MA0006)
                               Graham Provost (D.C. Bar No. 1780222)
                               (Pro Hac Vice pending)
                               Elaine Poon (VA Bar No. 91963)
                               (Pro Hac Vice pending)
                               PUBLIC RIGHTS PROJECT
                               490 43rd Street, Unit #115
                               Oakland, CA 94609
                               Telephone: (510) 738-6788
                               toby@publicrightsproject.org
                               graham@publicrightsproject.org
                               elaine@publicrightsproject.org

                               Counsel for Allegheny County, Kalamazoo County,
                               King County, Native Village of Kipnuk, City of
                               Sacramento, City and County of San Francisco,
                               City of Springfield, and Treasure Island Mobility
                               Management Agency and Proposed Class Counsel

                               /s/ Julie Wilensky
                               David Chiu (CA Bar No. 189542)
                               SAN FRANCISCO CITY ATTORNEY
                               Yvonne R. Meré (CA Bar No. 175394)
                               (Pro Hac Vice forthcoming)
                               Chief Deputy City Attorney
                               Mollie M. Lee (CA Bar No. 251404)

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                               (Pro Hac Vice forthcoming)
                               Chief of Strategic Advocacy
                               Sara J. Eisenberg (CA Bar No. 269303)
                               (Pro Hac Vice forthcoming)
                               Chief of Complex and Affirmative Litigation
                               Julie Wilensky (CA Bar No. 271765)
                               (Pro Hac Vice forthcoming)
                               Deputy City Attorney
                               1390 Market Street, 7th Floor
                               San Francisco, CA 94102
                               Telephone: (415) 554-4274
                               yvonne.mere@sfcityatty.org
                               mollie.lee@sfcityatty.org
                               sara.eisenberg@sfcityatty.org
                               julie.wilensky@sfcityatty.org

                               Counsel for City and County of San Francisco and
                               Treasure Island Mobility Management Agency

                               /s/ David J. Hackett
                               David J. Hackett (WA Bar No. 21234)
                               (Pro Hac Vice forthcoming)
                               General Counsel to King County Executive &
                               Special Deputy Prosecutor
                               Alison Holcomb (WA Bar No. 23303)
                               (Pro Hac Vice forthcoming)
                               Deputy General Counsel to King County Executive
                               & Special Deputy Prosecutor
                               OFFICE OF KING COUNTY PROSECUTING ATTORNEY
                               LEESA MANION
                               401 5th Avenue, Suite 800
                               Seattle, WA 98104
                               (206) 477-9483
                               David.Hackett@kingcounty.gov
                               aholcomb@kingcounty.gov

                               Counsel for Martin Luther King, Jr. County




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                              CERTIFICATE OF SERVICE

       I certify that on June 27, 2025, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system. I further certify that arrangements have been made

to deliver a true and correct courtesy copy of the foregoing to the following via Certified

U.S. Mail, Return Receipt Requested:

       United States Environmental Protection Agency
       1200 Pennsylvania Avenue, NW
       Washington, DC 20460

       Lee Zeldin, in his official capacity as
       Administrator of the United States Environmental
       Protection Agency
       Mail Code 1101A
       1200 Pennsylvania Avenue, NW
       Washington, DC 20460

       Jeanine Ferris Pirro, in her official capacity as
       United States Attorney for the District of Columbia
       601 D Street, NW
       Washington, DC 20579

       Pamela Bondi, in her official capacity as
       Attorney General of the United States Department
       of Justice
       950 Pennsylvania Avenue, NW
       Washington, DC 20530


                                                    /s/ Ben Grillot
                                                    Counsel for Plaintiffs




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